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                    IN THE UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION
 In re: Jason Galiano                                 Case No. 4:22-bk-10418
 Debtor                                                            Chapter 13


                              MOTION TO REINSTATE CASE

      COMES NOW Jason Galiano ("Debtor"), by and through his attorney, Matthew D.
Mentgen, and for his Motion to Reinstate Case states as follows:
        1.    That Debtor filed a petition seeking relief under Chapter 13 of Title 11 of the United
States Code on <pet.case.commenced>.
       2.     That this case was dismissed on April 11, 2022, for Failure to Comply with an
Order of Deficiency.
        3.      That, Debtor wishes to have his case reinstated for the sole purpose of converting
this case to a Chapter 7 case.
       4.      That Debtor will convert his case to a Chapter 7 case within 5 days of an order
granting this motion.
        WHEREFORE, debtor, Jason Galiano, prays that this motion be granted and for all other
just and proper relief to which Debtor may be entitled.


                                                          Respectfully submitted,


                                                          /s/ Matthew D Mentgen
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